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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION



UNITED STATES OF AMERICA,                           )       CASE NO. 1:22mj9279
                                                    )
       Plaintiff,                                   )
                                                    )
vs.                                                 )       MAGISTRATE JUDGE JENNIFER
                                                    )       DOWDELL ARMSTRONG
                                                    )
ISAAC WOOLLEY                                       )
                                                    )
       Defendant.                                   )



       The Court held a Prelimary and Detention Hearing to Defendant Isaac Woolley ("Mr.

Woolley") on December 5, 2022. At the outset of the hearing, Mr. Woolley's counsel

expressed serious concerns regarding Mr. Woolley's competency for the reasons stated on the

record, and he orally moved under U.S.C. § 4241(a) for a mental competency evaluation of Mr.

Woolley. The Court finds on the record currently before it that there is reasonable cause to

believe that Mr. Woolley may presently be suffering from a mental disease or defect

rendering him mentally incompetent to the extent that he is unable to understand the nature and

consequences of the proceedings against him or to assist properly in his defense.

       IT IS ORDERED that Mr. Woolley is to remain in custody and be immediately

transported for an evaluation to the BOP by a licensed psychiatrist or psychologist as to his

competency to understand the nature and consequences of the proceedings against him and to

assist properly in his defense.     After the examination is completed, the United States

Marshal’s Office must return Mr. Woolley to this district, and must immediately notify the

Court of Mr. Woolley's return so the preliminary and detention hearing can proceed if

warranted.
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IT IS FURTHER ORDERED that a report be made to the Court within thirty (30) days from the entry

of this Order. A copy of such report is to be furnished to the Court, the Assistant United States Attorney,

Mr. Wooley, and defense counsel.




Dated: December 5, 2022                               s/ Jennifer Dowdell Armstrong
                                                     JENNIFER DOWDELL ARMSTRONG
                                                     UNITED STATES MAGISTRATE JUDGE
